          Case 1:16-vv-00479-UNJ Document 44 Filed 07/27/18 Page 1 of 3




         In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                        No. 16-479V
                                    Filed: April 6, 2018

    * * * * * * * * * * * * *              *   *
    STEPHEN VASAS,                             *      UNPUBLISHED
                                               *
                Petitioner,                    *
    v.                                         *      Special Master Oler
                                               *
    SECRETARY OF HEALTH                        *      Decision on Attorneys’ Fees and Costs.
    AND HUMAN SERVICES,                        *
                                               *
             Respondent.                       *
    * * * * * * * * * * * * *              *   *

Scott William Rooney, Nemes Rooney, P.C., Farmington Hills, MI, for Petitioner.
Glenn S. Greene, U.S. Department of Justice, Washington, DC, for Respondent.

                     DECISION ON ATTORNEYS’ FEES AND COSTS1

Oler, Special Master:

       On April 15, 2016, Petitioner, Stephen Vasas, filed a petition for compensation in the
National Vaccine Injury Compensation Program (“the Program”),2 alleging that he suffered
peripheral neuropathy as a result of receiving a “Tdap” (tetanus, diphtheria, acellular pertussis)
vaccine on May 1, 2013. ECF No. 1 at 2. Respondent filed a Rule 4(c) Report on October 7,
2016, recommending that compensation be denied in this case. ECF No. 13 at 1. Petitioner
moved for a stipulated order for voluntary dismissal of his petition on October 12, 2017. ECF
No. 34. The special master previously assigned to this case issued an order concluding
proceedings on October 12, 2017, dismissing this case. ECF No. 35.

1
         Because this unpublished decision contains a reasoned explanation for the action in this
case, I intend to post this decision on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899,
2913 (codified as amended at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule
18(b), a party has 14 days to identify and move to delete medical or other information, that
satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule, a motion
for redaction must include a proposed redacted decision. If, upon review, I agree that the
identified material fits within the requirements of that provision, I will delete such material from
public access.
2
        National Childhood Vaccine Injury Act of 1986 (“Vaccine Act”), Pub. L. No. 99-660,
100 Stat. 3755. Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to
the pertinent subparagraph of 42 U.S.C. §300aa (2012).
          Case 1:16-vv-00479-UNJ Document 44 Filed 07/27/18 Page 2 of 3



        On November 3, 2017, Petitioner filed a Motion for Attorneys’ Fees and Costs (“AFC
Motion”), requesting attorneys’ fees in the amount of $6,418.50, and $555.58 in costs, for a total
of $6,974.08. See AFC Motion, ECF No. 36 at 2-3. In accordance with General Order #9,
Petitioner filed a signed statement indicating that he incurred out-of-pocket expenses in the
amount of $43.77, for the purchase of medical records. See Ex. 1, attached to ECF No. 36.
Petitioner also seeks reimbursement of those out-of-pocket expenses. See AFC Motion at 2-3.

        Respondent filed a response to Petitioner’s AFC motion on November 16, 2017.
Respondent’s Response, dated November 16, 2017 (ECF No. 37). Respondent argues that
“[n]either the Vaccine Act nor Vaccine Rule 13 contemplates any role for [R]espondent in the
resolution of a request by a [P]etitioner for an award of attorneys’ fees and costs.” Id. at 1.
Respondent adds, however, that he “is satisfied the statutory requirements for an award of
attorneys’ fees and costs are met in this case.” Id. at 2. Additionally, he “respectfully
recommends that the [undersigned] exercise [her] discretion and determine a reasonable award
for attorneys’ fees and costs.” Id. at 3.

       This case was transferred to my docket on December 6, 2017. ECF No. 39. This matter
is now ripe for a decision.

I. Applicable Law

        The Vaccine Act permits an award of “reasonable attorneys’ fees” and “other costs.”
§ 15(e)(1). If a petitioner succeeds on the merits of his or her claim, the award of attorneys’ fees
is automatic. Id.; see Sebelius v. Cloer, 569 U.S. 369, 373 (2013). However, a petitioner need
not prevail on entitlement to receive a fee award as long as the petition was brought in “good
faith” and there was a “reasonable basis” for the claim to proceed. §15(e)(1).

II. Discussion

        Respondent does not argue that this case lacks good faith or a reasonable basis. Upon my
review of the record, and an examination of the overall circumstances of this case, I also agree
that this case was filed in “good faith,” and with a “reasonable basis.”

         Based on my review of the billing records submitted with Petitioner’s AFC Motion (see
Ex. 2 at 1-5, ECF No. 36),3 the hours expended on this matter appear to be reasonable, and I find
no cause to reduce the requested attorney or paralegal hourly rates. Similarly, after reviewing
the costs invoices attached with Petitioner’s AFC Motion (see id. at 6-7), I find the requested
litigation costs to be reasonable, and will award them in full. Petitioner’s requested out-of-
pocket expenses also appear to be reasonable, and will be awarded in full.




3
       The pagination in Exhibit 2 appears at the top-right corner of each page, starting with
“page 2” through “page 7.” See Ex. 2 at 2-7.

                                                 2
         Case 1:16-vv-00479-UNJ Document 44 Filed 07/27/18 Page 3 of 3



III. Total Award Summary

        Accordingly, I award the following amounts:

              (1) $6,974.08, representing $6,418.50 in attorneys’ fees and $555.58 in costs, in
                  the form of a check payable jointly to Petitioner and Petitioner’s counsel,
                  Scott W. Rooney; and

              (2) $43.77, representing Petitioner’s out-of-pocket expenses, in the form of a
                  check payable to Petitioner, Stephen Vasas.

       The clerk shall enter judgment accordingly.4

       IT IS SO ORDERED.

                                                           s/ Katherine E. Oler
                                                           Katherine E. Oler
                                                           Special Master




4
        Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a
notice renouncing the right to seek review.

                                               3
